114 F.3d 1196
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Isidro Gerardo CORONA-CASTANEDA, Defendant-Appellant.
    No. 96-50526.
    United States Court of Appeals, Ninth Circuit.
    Submitted May 19, 1997.*Decided May 21, 1997.
    
      Before:  FLETCHER, REINHARDT, and FERNANDEZ, Circuit Judges.
      MEMORANDUM**
      In light of United States v. Fuentes-Barahona, No. 95-50307, slip op. 4369 (9th Cir.1997), we vacate Corona-Castaneda's sentence enhancement under U.S.S.G. § 2L1.2(B)(2) and we GRANT Corona-Castaneda's motion for immediate remand for resentencing.
      VACATED and REMANDED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  See Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    